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                         UNITED STATES DISTRICT COURT
                           DISTRICT OT'NEW MEXICO


TINITED STATES DISTRICT COIIRT
DISTRICT OF I\IEW MEXICO                        )
           PIaintilf,                          )
                                               )      CASE NO. 19-CR.OO59}JCH
                                               )
                                               )
  vs.                                          )
                                               )
                                               )
WILLIE LEE EDWARDS JR                         )
                                               )

         Defendant


                                     NOTICE
                                     FILE INTO CASE




                        " WLEJ ENTERPRYSE REVOCABLE LIVING TRUST"




                                                         By: /JWillie-lee:   Edwards Jr, TTEE

                                                          WILLIE LEE EDWARDS JR
                                                          ClO3l67   San Mateo NE#272

                                                          Albuquerque, NM 87110
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                                     WIEIENTERPRYSE
                                     Rwocablc LivingTrust

    I, WILLIE LEE EDWARDS Jr, presently of Albuquerque, New Mcxico (the "Grantor')
    declae and make this rwocable living tust (ffte "Living Tnrst"). This Living Trust will
    be lcnown as: WLEJ ENTGRPRYSE Revocable Living Trust
    BACKGROI.JND:
    A. The Grurtor preseotly ou,trs prlop€rty (the "Property') as described in Schedtle A.
    B. The Grantor wishes to ensure that this Pmperty and any income derived from this
    Prop€rty is mmaged md wentually distributal acoording to tte following terms
    Tmsthrooss
     l. This Living Trust is cr€at€d for the benefit of &e Beneficiai€s to enure ftey are well
    provided for after the death of the Grantor, however during tre lifetime of the Grmtr,
    the interests of the Grantor will be considered primfiy and superim to &e interwts of the
    Beirsficiaries. Iirith this purpose, the primry asset managgrcut goal fortis Living Trust
    will be the protedion of &e valrrc oftte Property. Thc secondry asset managernent goal
    forrhis Living Tnrst is to generde incunemd growft d areasonable risk-
    Trushc
                                                bdr beoome iacapacit*ed, the primary
    2. During their lifetim€, and unless md until
    fustee (the
    'Primary Trustee') ofthis LivingTnrst shall be, Edurads, Willie,Lee: of Albuquerque,
    New    Mqico and Edwa@ \I/illie I*e ofAlhrytenque. If a himry TrusEe dies or
     becomes irrcryacitate4 the other Pdmry TrusEe will cominue as the sole Primry
     Trustee of ttis Living Trusf,.
     3. In the wemtthat bottr Primary Tnrstees ae either dead or incryacitate4 then Edwards
     Willie Lee Jr (the nSuccessor Trustee") will serve as the acting Trustee of this Living
     TrusL
     Bcnsfideries
     ,$.Upon the ded ofthe Grurtor, the following indivi&n(s) will comprise the
     beneficiaries (drc
     "Beneficiaries') of this Living Tnrsr a fie residuary beneficiry, AII oftpring creded
     ttrough the Body of Edlilardc Willie Lee of Albuquerquc, New Mexico; and b. any heir
     or issue of thosc beneficiaries thc is ntitledto a benefitrmderthis Living Trust in the
     plm ofany &en deceased bencficiary.
     Assim rnd Coqverv honcrtv to LivingTrust
     5. WLLIE LEE EDWARDSJT, a          fur,          hrorwill assi& conrrcyand deliverall of
     the rights, title and intenest in the Froperty as descriM in Schedule A ofthis document
     as a gift and withs considerstion, to be held by this Living TrusL
     Amendmut Ihri+e Grentot's Lifctimc
     6.At any time druing the lifetime of fu Granton and while &c Grants is not
     incapecita@ the Grmtor may, subject to the otter povisions oftis section, alter m
     med ftis Living Tnst on &livuy to ttrc acting Trustee of a writren instnmmt signed
     bytheGranbr. Amerdmeuhmay irelude!htrare nd limitedto, fu fo[owing:
     a The Grsrtor may change &e nrmrber and identity of the Grantors, the Trustec, the
     Successor TruSees or the Beneficiarie.
     b- TheGrantormay add orwith&arrproperty from        ftis LivingTrusL
     7. This LMngTrustmay not beurcnded sfrerltc        dedoflte    Grmtor.
     Rcvocrtiotr   DrriE Grmtods      Lifetimc
     E. Ataytimcdrringthc lifttime oftfu Graubrd whilcfrs Grmtor is not
     incapocitUeO, fre Grantor mqr, subj€ct to tle der provisions of is section, revoke this
     LivingTrust in its entinty on delivery tofieadingTru$eeof awritten instsument
     signed by tre Grmtor. In tre ev€mt of srch rwocdion, the remaining Property will revert
     to the Grantor after alttlrc d€bb md expe,nses mibrrableto the LivingTrusthave beon
     psid-
     9. This Living Trust may notbe rwoked afuthc dcdt of6e Grantor.
     Ilistributims Drrins thc Ilfcfimc of tLc Gnntor
     10. Drring fire lifetimc of tb Grantor ad rlhile ffc Grds is Eot incryacitate4 the
     ac{ing Tnrstee wilt distih$€ as much of tk income md dncipal ofthe Living Trust to
     the Grmtor as dre Grantormayr€qrrcst Whilethe Grantc is incapacitred        dno longer
     able to manage on continueto mmagefieirourn atrairs' th€n the actingTrustee may
     withhold or make payments out of the rcourcc of this Living Tnrst of any amourfr that
     the acting Truste in their sole judgment deem appropiate forthe mainteonrcg pomfort
     and welfue ofthc Grantor.
                                               DocH 20112@3413
                                               @l13lm1fii 98:35 B{ PasE: I of 7
                                               RtLT R:328.@ Lirrda Stover,    Bcrnalillo     County
                                               llll tlhilhlll'!ft: ht'l]lthEltdl             Xllt hlH   ltlt,.'t   ll   ll I
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    Distributions Uoon Dcoth of the Grantor
                                                resotving all applicable legal debts and
    obli$tioms ofthe Gtantor, the acting Tnrstee will expeditious$ act to disfribute the
    remaining Property as direcned in tds sectim
    12.   After-resoivingall rypli"abte legal  d€h dobligdions oftteGrantor, the aciing
    Trustee      witl   o$iure te   rmaining property in 6is Living Tnrst in EQUAL shares
    (individually the nsht' md collectively 6c "ShaI,Es') to lhe following Beneficiaries:
    a AII oBpring cr€ded through the Body of Edrrmds" Willie Lee of Albuquerque, New
    Mexico;
    13. Whire a Beneficiary is under Ore age of 2l years d 6c tims of rhe Final Dstibtrtioru
    and thA Beneficiary is not ao Adult Dependeirt Beneficiary, fu acting Trustee will th€Nl
    actas tnrstee(s) by holdinglhd Shsle in a separatetnrst fg'ltu4B€oeficiary underlhe
    sfl.ct€f,ms and conditions as outlined inthis LivingTnrsg adq.ill keepffrd Share
    invcte4 payfre income orcryital or as much of eitherorbodt aste *en acting
    trusteqs;- in tteir sole dismetion, consider advisable for the maintcnanoe, edudion'
    advandene or bqrefit of tm Beneficiary rmtil thrt B€ncficiry reaches the age of 21
    years urherarpo ihe lhen acting tnrstds) vill pay or transf,er dre re* ad residue of th*
    Share b trat Beneficiuy.
    14. whcre a Bmeficiary is an Aduh Dependeat Beneficiary        * fte time of the Final
    Distribgtion, the acfing Tnrstee rnry, d lbeir sole discretion: a Continrrc to ast as
    tuste{s) by holding &e Shae of any Aduh Deperdent Beneficiary in a s€parate tsu$'
    subjectto 6e smreterms maconaitims mtaid inthis LivingTnrst, md to keepthat
    Share investea, and pay the ircome or cqitrl w as mrrch of ei&er or both as the then
    actingtruste{s) consideradvisable forlhemaintermcg €&xcdion' advmcenrent or
    benefit ofthat Adult Dependent Beneficiry; or
    b. Pay or transfer atl rylta! assets and property oftlrd Share or the amomt remaining of
    tr* Share ofthd Aduli@entBeneficiryto any pesnt, custodian orguardian of
    thd Adult D€p€nd€nt eenetAary subjectto &c same terms and conditions c'ortained in
    Sris Living Tnrst andtre receipbyftatparcnt, orstodianorgrrardianwill dischrge all
     duties and obligations ofdp acting Trusee.
     15. If ary ofthe nmt€d B@eficisies do mt survive tlre Grator by d       l6t   eirry €0)
     days but do leave m heir of issue wto srrvirrcs ttre Grarsor by d l€ast thirty (30) days,
     ttren ttre Specific Gift m ee Sharc dcsigDaled for tha[ Bensficiuy, of vrtdeve kind aod
     character, and rvtrerwer locaE4 wi[ be disfiibuted per stirpes arnongthose surviving
     heirs or issue. Whsr€ ttose suniv'mg heir3 or issuc arc not ofttre age of m4iority, tlre
     acting Tnrstee msy pEf or fi,asftr all c4ital, assefi and pfopfrty mih*able to those
     minoi trein or issge of that Bcneficiary to any parcnt, cu$odian or guadian of &ose
     minorheirs missug subj€cttoftesameterms and conditiom contained in&is Living
     Trust, andthereceiptby-trdpug[& custodianor grrardiuwill disdrrgeall dr*ies and
     obligations of the ading Trustee.
     t6. if ary ofthe rcsklual Beneficiuies do not srrvive the Grmtor by at l€ast thirty (30)
     itays urd do not leave m heir orissrc ufio survives the Graffor, ften &e Share
     designded for thd Bene,ficiary, will rsvcrt to tlc residrr of this Living Tntsr
      17. if all of the succqsor s€n€ficiarics ao nd srrvive thc Gter by d least thirty (30)
     days urd do not leave m heir or issrc who srrvives the Grantor by d least 6irty (30)
     aay." d,* all of ttre rcmaining pmperty in this Livipg Tnx,t, of whaerrer kind and
     chsracEr, and rryherever locd€4
     will revert to the esOate ofthe Grmttr
     18.    any ofthe real property to be distrihmcd intis Living Tmst reurains subject to a
            If
     mortg3ga d the tims bf me ninat Disuihtrion, 6cn 6e Beircficiry tdltng thst mortgaged
     p"ogoty *itt Ake th* property srbjectto thd morQage aad the Beneficiary will not be ,
     .ntiUea to n*" dre mortgigp pid orf or resohrcd from &e remaining assets u residue of
     this Living Trusr
     f 9- If my-of the personal prop€rty to be distibuted in this Living Trust is subject to any
     encumbruces oi tieos d tk time of the Final Distribution, then &e Beneficiay taking
     that property will take trd propcrty subjcct to those €ncunbranc€s or liens ad the
     neninciufwilt oot bc €ndtlcdto hane any e,lrcumhane or lienpaidortorresolved
     fiom be rcmaining assets m residtp of ttis Living TrusL
     Trnstee Bond
     fl116--6"           hws of&e Universe and any other aplicable jurisdictioL no bond or
      security of any kind will be required of any Trustee appointed in this Living Trust
      agr€ment
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   TrustecLirbilitv
   21. The Trust€e witl not be liabletotris Living TmsL tbe
                                                                    Grantu orto tre Beneficiaries
   for any action or frilure to sct resuhing in loss     c harn  to ttis Livfurg Tnst' the Gra'ntor
   or to ttre Beneficiarics except  in the  case of  eross regtigence"   wilBll  elscon'duct or
                                                                              gre Bemeficiaries' A
    *ifor iodfr-.,         t0 the'prpo6es of &e trgst or the interests of
    @                                   for his or lrer orm rcts and no Tnrsfiee will be liable for
                                                                                                 Any
    ;y ;;              occuning in the periods befme or after the tenrne of tho Trustee'
               ".1to[.
    o.rirtut Ong fiabilitiesof aiea{    digning     or removed   TrusE€   re  not discharged  or
          bine Tnrstce's ded' resign*ion
    atrected                                        or re'moval'
    TrusteeDeethorReitnrtiotr ^
    ffi                                  time for any reason upon d lct-30 days' notice to the
                                                                                 are urn and to the
    Grartor, iftfre Gjrantor i" rtiti iti"", to any 6emaining Truste.' ifttrere
    qrufin"a A*"66rnio. If aTnstee dies,ft*            Trust€e will ce*e   to be  a TrusEe as of the

    date   oftheir death.
    Trustec Removal
                                                                 the Crrurtor becomes
                                oftre Grantor, and unless md until
    ffiffilf.fitte                                    foralry rtason  orforno reason atthe
    t              the Grantormay r€move     aTnrstee
      "rpr"fufo4
    sole discretion of the ffantor-
    24. AftGr t ededh orar c"crtor, tbe @lified Beneficisies
                                                                    may, by rmauimous vote of
                                                         for any  rwon   or for no reason at the
    *t ottn"    QuAm.A   Beneficiaries, remove a Tnrstee
    sole discreiion ofthe Qualified Beneficiaies'
    t;:At;,       time after   thi a"*n    *
                                          disability of the Grdor, a Tnrstee or a Beneficiary
                                         jurisdictim-to   nemove a Trus@' A Trustee may also
     -"y rypfi b     a court of compaent
                                          mrfs owninitidive'
     Uereniovi*Uv &e coufton6e
     Tmstcc llcDtrrcement
                            the Grantor is aliv' md trot incapocitmed ad whore a Trustes
                                                                                                has
     m't,uyfi.effie*
     been renrove4 die4  resigned  or is no longer  abte  to   d as Trustee for  my   reasorl a
     replacement Trustee may be qpointed by fte Grmtor'
     27. Where the Grantor ;,!    d*d; t
                                         "e"dffi"4
                                                       md where a Trustee has been rcrnove4
     dt"d, t*ip"d or is no longer able to act 6   Trustee   for any reason'-and vtere a
     r"pi-io.r"Ltrr*to   is  djned   necessuy    bythe   relnainfuE  actingTrustee, areplacernent
     irirsti   ma,   Ue         by a mqiodty voi? of all
                          ryointeit                           eti*  Trustees still able md
     authorized to act.
     23.WheretteGrantorisdeadorincapacitatedandwheretheLivingTnrstisleftwithno
     Trustee, a replacement      i*"t""trloy   Ui appointed by     a   unmimous vorc   offte Qualified
     Beneficiaries.
      Trustee Forers
      29. Powers granted to an acting Trustee of 'lris Uving Tru$          in9\*'
                                                                              but are not limited
                                                                                    to manage the
      m, ttn ioUoirins *       ftr f"irt}wilt lrave fu  sune rignts ana oiligaions
      Prop€rty as if *re frusrce rverc th onmer   of fre Property
      U- eneim aea*r of the Grantor, the Trustee will
                                                          havc the porrcr to rypoint one or more
      ir,AUarr"t. o. inrtit*ions-to m r. oo+tusteufrseit isdeerrdreeqmblc and infrc
      best overall int€rest of this Living Trus-
      c- TheTrustee  *"y*rptoy"nO ity urfte advie ofexperts inclding but trof limiEd
      to, legsl cousel,                invesment advisorc t" tttp in tlre mugementofthe
      frifi,            "*,;1"i,;*d
                        a rritioi*a".-"0 reasmableard inthe bestoverall interest ofthis
              "trgflEtt
      LivingTrusl
      d. Thc Trust€G may rebin, orchange, iruure' rcpair, ryqop ryU
                                                                                  oldisfse of ry.V an{
      Jf p.**rf proeeriy U"Geir,Ct" Irl" f.iri"g          firrst c  6.  TrustEe    deems rpasonable and
                                                                    liability for loss or depreciation'
      in tk best overalf irnercst          Litdng  Trust'  withottr
                                   ":ftfrs                             moftgagg sell' dispose of or
      e- The Trustee mey invest' menage, lease' rcnt' €xchmgc,
      d"" "pf*" *f&.:u U.i"i          fi-iri r" to tctEr-md to irNrne, r€psir, improve, or add to or
       oftcnrise dealwith any         at,or property belongingtoqis LrvingTrust as fte Trustee
                                "iia  bcst o"ettti ini.?r€st of-tnis Living Tnrst, without liability
                                                                                                      for
       deems  reasonable andin   the
       loss or depreciation.
                                                                         a-y.business which is part
       f. Th€ Trustee may maintain, continuc, dissolve, change or sell
                                                                                Tnrst, as the
       ofthis Living frusL or p;fuse my btrsiness on bebalfofthis Living
       Trustee deems reasmadb         d
                                     in dre best interest of this Living TrusL
       g.TheTrusteero"ypo'"t*''maintain'convertandliquifueinvesmensorsecurities,at
                                                                  groq{h, and vote stock in
       reasonable rislc, *d f"r G-;iry"* of iener*ing lncome alrd
       person or by proxy,     * *#o*y ofo'        "ooo*ing
                                                                arV in$-nry.ts          or securitie' as
       Se Trustee deems .ou*rUu ,m        in Ore test overatl interest of this Living Trust, without
       liability for loss or deprecidion.
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                                                                       reasonable and in the best
   h. The Tnrstee may open or close bark acoormts wherever
   interest ofthis Living Trusr
                                                                                         at reasonable risk'
   i. The Trustee m.y in JrnA reiavest tlrc assets of this Living Trusl
                                       iil."                                              reasoruble and in
                                               Td goY.l, stheTrusreo
                                                                                 dee,ms
   io.t"      purpor" or-g*ouirg
                                                                                      or  depreciation'
   the best overalt inerest ofd;is Living fnst, wiftout                    for
                                                                liability       loss
     il" it                                          mdunp'roduaive poperty-wtrere it is
   i."rlsonabler.t* may hold rm-invested-cash
                  ana in tre best interest of ftis  Living tn st to & so including but not limited
     to, for the purpme of protccting tte cryital and princrnal o-f 6is
                                                                               LilnS   llsr
              T.r;d   may feira mOsio any borron*e"-o,trere       trc  toar   is  adoqudety secured by
      i.'Th"
                                                  is r€osonable  urd  in  the  beS   overall intetest of
      sufficient coll&ral and  wh€te   dte loam
   thisLivingTrust.
    l.TheTrusteemayborrowfundsfromarrylorderandmortgageorotlrerrriseencumber
                                                                                    the best
    ;;;;-b"dgilgto           this LivingTrusturtrercthe lmn is reason&le and in
    overatt interest of ttis Living  Trust
                     may maintail, scttle, abmdoa, sue or defend' .' othenrise
                                                                                   deal with any
    ,,,. tn"f*"t*                                                        Tnxt  to do so'
    claim where it is remonable ad in &e     best interest oflhe Living
        wna*  t*" *  urr       *t"o
                             odro           avail&le,  and  vtse  ttre Trust€e is ompelled to do
    ".
    so, tuernrstee may resolve any lcgatly enforceable dehs, tarres, reasonable frureral
    .*i**, buial orpenses arahy txi'en*s reted to th final ilkress of the Grantor out
    ofthe resources ofthis LivingTrusl
         r"rrt"" -ay -are tJrioal Distsibution in any comlin*ign o-rcasn ed Foperty.in
    o. rrr"
    p-p*ty selectiorand           in &e oourse of tlre Fiml Disribution will be made
                        "ri**ioo
    d;ld frie dis,,etion ofttre Tmstee and will be biding m allBeneficiarie'
    iO.    itir
             incumbent on the Trustee to ast       c   fiduciaries' in good faith and in the best
    interest of the Living TrusL
     31.   All    decisions ofthe   *t"g r"rs*,   made in good        fii&   regrding tlre management of
    this Living Trust will be final and binding on all parties'
    32. The afrve a,ffruity and powers greted to te Trustee
                                                                 are in additioo to 8ny powers

    .ro LiJ"" ,ig,s *ri"J'Uv ,m"!' ftdffal            law or by o6er  pgvi{m of this LMng
     i-"t *a -u/U" "*"r"ir"a "" on",t as require4               and   witort ryticdion    to or   rymval
     by any coul
     Trustce Comoensetim
     tti":rot                     a Beneficiry of this Living Trust will rcceive reasonable
                    or* of the resources of$is tiving Trust for se'rvices rendered' A
                                                                                      Trustee
     ;;;;;*                                             will       wittout compensdion'
     who is also a Bareficiary under this Living Trust       serve
     Tmstcc ilxDenss
     iiffitrtfed     to be reimbursed out of the income md property of this Living
                                                                        theexpenseis
     i-Jf*rti*aaf"*penss,incrrringinterestwhere    ofthis Living Trust'
     ro*"rUtv ina popoty             inoumed in &e managemeff
     Soendthrift Chusc                                                                                   or
     ]jm                  .rf fris Living Tnrst uill lmve tte powr to transfer,.sell,
                  g."A"ir"y                                                                    assigrq

      othenrise encumber *V            tt ipt"e*ty trcld by fiis Li"i"g-Try$ p-"gto the Final
      nistrllution uy fte acring  "tt
                                    Tmsree-  sii.il*y,     t-
                                                          dgfut of distsibution-held by any
      B;;fi"t   ry *ao        ff"
                               l-i"irrg tnst    agw*    yill rrcr be subjecr to judicial
      encumbramce priu to the Finat Diseibutim by the acting
                                                                    Trustee'
      Tax Identification
      tffi-.Ei-           this Revocable LivingTnrst will bc ids$ifi€d by the EmploYer
                                ,
      ii*tin"uti6n Nu,nUo Auring the lifetime fittre Grmtor along with Social Security
      Nnrnber if necssary to-i-d#t graffi -            r-1'.?
                                                        1 16 EI                   p*
      EomcsteadTer Excmnfion
                                       Grantor is held witrin this Rwocable Living Trust,
      ffiofhe
         Grantor mafufrins G rigtttt" p*.o" and futhabitfreresidencewithout
                                                                              rerrt and
      the
                                                   This is inten&d forttreprposeof giving
      "tr.gefr.",forrca."*i*"offitittifai.*
      the Grantor abeireficiJi"t-"* *a possessor righs inthe
                                                                 resi&rce and to ensurethat
      tt"    C.-t-aoes not lose;iefigibiiity for a st*e UonresrcaA tax exernpim that they
      would otherwise  quali$ for-

       3E. Where a  n *"n l@                                  Bcne'ficiary and a vote, consent'
       or decision orm Quafnea Beneficiuies    is req,ird  tkr   tu pd€ilt, c.ustodian or
                              *        pepadem     S€rctciry,   uin- g     e.e best intsest ofthst
       gt,".diur fu.Oc fri'o*    narft                                  P
                        p"poA*t  A*.fi.ifoy, will bG allowod  to takc  the place of th6 Minor or
       il{inor or ad'lt
       Adult Depen&nt    Benetrciry forthe purpoee  offrd vde,   coren!     or decision.
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   Teruinefionof Tmst
   ffi                       terminate nrhere   fu   Prop€rty of this Living Trust is othasted
   through disCibutions.
   40. In-the event thd the rcting Ttustee corcttdes that tlre value of the Property is
   insufEcient to justify ths cost of administrdirn ard tha1 tre agregarc value of the
   Prop€rty is less thur tre rlalue of lmd rcsurce valw lhe ac{ing Trustee may t€ftninate
   *ijfiv'rng frust after pnoviding n66ice to tho Qualified Benefioiuies. Wtrere this Living
   Trust is termin*ed rmdertis section, the acting Trustee will distribute the llroperfy in a
   mann€r consistent wi& and as described in fu di$rihttions sc6ions of fltis Living Trust.
   Abstrect of Trust
   4ilfh"ffig T*56" may ex€cute an abstract of fris Living Tnst (ttre 'Abstact of
   Trust") and may preserrt &e  AMact of Trust to a financial institrtion as proof of the
    existence ofthis Living frusA The Abstract ofTrust should nd contain firll details ofthe
    properfy holdin$ of th Living Trust nor $ould it name all oftbe Beneficiaie of the
    Lini"g    st. Any person who is presamed rrith an Abstrac.t of Trust with t€gard to
             fn                                                                             fiis
    Living Trust wilt be tBld harurless forrelying or &e Abstract of Trust
    Goveminol,aW
    ;iffig           rrust will bc goveined in amrdane with the laws of the Universe        as   its
    highest and the larvs of equity at its lowsl
    Scvcnbilitv
    Fm-       p-ttsro"s of this Living Tnrs are d€emd rmenforceable        fu   r€mainiog
    provisionswill r€main in trll force andefEct
    Dcfini6ons
    ffii-me      purpose ofthis Living Tnrst the following definitions will ryply:
    a. ,'acting Trustee" means my Trustee who is currently serving as a trusEe of this Living
    Trust.
    b. 'Adult Deperd€Ntt Beneficiary" mems u dult beneficiary vho is unable to manage
    their own financial afrain by reasm of mcntal or otlrc disability.
    c. nagp ofmqioritf means the age of m4iority oflhe jurisdiction where a beneficiary
    ordinarily resides.
                       nincqracitated" m€ms when a person is rmable to manage their own
    d. "incapacityn or
    financial affain by reason of mental or ofrer disability.
    e. "Minor Beneficiry'means abeneficiary who is underthe legat ag$ ofmajority.
    f. "Trusteen means a[ry kimary Tnrstee or SuccessorTnr$e as well asmy replacment
    or additiond tnrstee appointed for this LMng Trust
    g. 'Qualified Beneficiary' means any beneficiry ftA is then entitled to a benefit under
    this LivingTrust
Case 1:19-cr-00593-JCH Document 125 Filed 02/21/23 Page 7 of 27

      IN WITNESS WHEREOF, the prties hereto have sigred their names on this third
      moon, third quarter, 7th day of the weekday in Albuquerque, New Mexico, declaring and
      publishing this instrunent as the Grantor's Living Trust, in the presence of the
      undersigned witnesses, who witnessed and subscribed this Living Trust in the presence of

                                               WILLIE LEE EDWARDS Jr (Grantor)
                                     Edwards, Willie-l,ee: (Trustee)
                                     Edwards Jr, Willie Lee (Trustee)
      ffiED    nND oeCleREb Uy the above prties on the 7th day of Sep 2o22 to be the
      Granto/s Living Trusl in our presence, in Albuquerque, New Mexico, in their pres€nce'
      all being present at the same time, have sigred our names as witnesses. Executed
      without the UNITED STATES, UYe dcclere undcr pcnelty of pcrjury under the lews
      of the united states of Americe ttref the forcgoing is true rtrd corrcct \ilithout
      Prejudicg UCC 1-30&


      Witrcss   #l Sipature        Y,
      Witness #1 Name (Please         Print)            Edwards
      Witness   #l Sheet Address 5705        dr. nw
      Witness   #l City/Stxe Albuquerque, New Mexico

      witness   *"r*r** y'X, Er/                           ^ /'
      Witness #2 Name (Please Print) Ann Fiwards
      Witness #2 Street Address 1505 Girard Blvd #9
      Witress #2 CitylState A            New Mexico

      Witness #3 Sipature
      Witness #3 Name (                           mays
      Witness #3 Street Address            05 Bridgeport ct
      Witness #3 CitylState                    calif.

      \ile certify that the foregoing is tru3, corrcct, end is not mislceding. The truth' the
      whole truth end nothing but the tmth. Deuteronomy l9zlS2l'Gre witress shall not rise
      up against a man for any iniquity, or for any sin, in any sin that he sinneth: at the morsh oftwo witnesses,
      or at the mouth ofthree wisresses, shall thc matter be establistrcd."


      I Timothy 6:17 "Charge them that are rich in this world, that they be in uncertain riches,
      but in the living God YAHWEH, who giveth us richly all thinp to enjoy."

      Exodus 31:3 "And I have filled him with the spirit of God YAHWEH, in wisdom, and in
      understanding, and in knowledge, and in all manner of workmanship.

      Schedule    A

      The Grantor assigns, conveys and delivers to ttris Living Tmst, all ofthe rights, title and
      interest, tangible or intangible, to any and all properties, real or personal:
      l. All tangible and intangible assets ofthe WILLIE LEE EDWARDS (including all
      derivations ofthe name/title) along with: WLE ENTERPRYSE.
      2. Any and all Intellectual Propcrty crcafed in both thc pasl pr€ssnt, or future in the name
      WILLIE LEE EDWARDS Jr. alongwifi WLEI ENTERPRYSE.
                               Case 1:19-cr-00593-JCH Document 125 Filed 02/21/23 Page 8 of 27




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     B. E-MAIL CONTACT AT FILER (optional)



     C. SEND ACKNOWLEDGMENT                        T0: (lrlarr and Address)



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        derivathg, deprB€ie0ors, imrertory, n*er*a,h, Prodm*, gpods, -an; se*ces-
  '     Afi oilateral inc*rdes ry?arerrat mses *rra!r1* d nresto<rq e*rdcs, ad crry. . Afi
                                                                                               s<tures
    inchd[rp@
  - All dedvalire Snchrdea[firtures.
  ' All rna*nsy, ery*pneI*, l@ wrrides, cr*s, ald tllc E(e irlckde d e&ceq ffiurxrmErqlts,
    Qg4a' trd qgo fficd or pB*atelB ffi orffi tgelr, tk*                        * m&rs, erq*I;:
    ancffiary equlgrErt,              p$ts, tmb, insrunrs*, ebctortb eqr4xrsn nav(;ation aids,
    servir= equlgnert, lubrkafits, andfireb and fuel addilirm;
  ' AT  mkrd imftres &e hersGr of afi RU[[s to hry, se[, ffib, gfftr, Iabe. g6ler, hmt, bap, ergb,
        ard stwe &od' fr€r' ald rar rnatefiab tulgreter,-cimdrg, survirat ano cotinerciit
       gsin;
                                                                                                   ;rriloi&il;;i
 '     A[ m8etsd
  r fill coehdmn oe us6d frrefiy tr*pce   or rree ffi
                                   pdltcfrte,  irffi,
                                                                                     pARTy eilects;
                                                                                     ffi
               :ge-ry,
       TRUSTEE/SEGURED PARTY lmrefrr
                                                                   benefits    ard
                                          oains's oof,defu aru rigits drf;lEriiiatadred to:
                                                                                            fronr every    sourca;
1'    All 6seb' inchffiu aogounb, pincipb, ffirGsL c86' procscdq profir6,
                                                                                trlrrentory, accounts,
      Gffl6! psPets doo.uneils, con*r$, receis, frfrneq eillatves gu'gomor'O,wref"       gqrtr
2. AX rents, b&los, sahs, saHies, ryagigs, gdflq anO incinre;
3- All land, wats, n*terd, aff airrUhilE frcndfq0 rtdrts;
         a' AII hnd hcrdet$ residerme,                          agrirfrrral,   ffiy,       pgt$ gnd rg€'estion,
               wstqfiontarld bee{h, istar6, dolb,   arxc   rnh&E &ints, bsed, renied,       somed,     dercloped
               ard uflerlebped:

Secuity Agreement                                   Page6                            Item#{}lS*122f$il.E€A
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                               SECURTTY AGREEMENT
           b- All wds rf,t'*                                                qfrrq    klbs,   bryd(s, $tores.
                                  sFips, pords, r*stoeq corfitnorbq bqb, bers, dstas, wrps, poob,
                strcarrl3, cfec|cs,
                welb' inigat*m, lafol, srur, runoff, ordenrathnr cdone$, basLE, d[cfEs, anO tnargits; -
           c.   A[ nfrprd rigrrG trchffiry rr&terab, rmts, end ffirrq and GDdracmn dgm;
           d.   An dr rtgffrs inctffiE $e af M sd tlB sre t €lGts h, pln ar rUG of EffrcffiE
                                                                                                        ard
                eldrEdft,U
4-    Ail acaomts'    eok
                       snd dlp{uise, trrchffilg tsfrty deposf bo:e erd tm ffisrts ffiein, sudil cerd
                      fird, nnneqr madHs, intEstrneflt, potrfr0os, ElFl acmm& EffiCsi d @slt,
      acco(Ints, mLfird
   ry,         ser,*qs, rellenar* phfis, dffi,         esorm, Entrgrue, cotesi frtrtd, ffi,  dr}ds;
   seortb'     efue on drya( bords, v@bl &re sfiae, ertmates                Adepfo, drafrs;frfir"s,
   not€s, ofiidts; F.ts, *, pefision pa€, ffi*,tol{q            afxluE &G;
   AI               rsef,   F&€[
1 Afl berreffi tronr S iertiery
      cash, coirs,                  Resse     ]G an* SsCarfficdeq
6-                              orsubsqusrt &$t amunt
7-    A$   *nentmyerd fatf, nn*erieb:
E. A[ ma&irrcr5
9. An€quiprprrt;
10. AEvesets, lnc*dlqg all bo$, yachts, sfrb6, ardwtercr*
11. All rchhh intsdlrq atilos, truds. frurartled rletrhles, tnahrs, uraguls,         rdorq;t.les, biq6tres,
    trlq&s, rufteehrl cryilrEryranes;
12- AS crarfis;
13- A[ airs$, fu]cfudirqg g$ders, hsoons;
14- A[ mdor i]ornes, tsaie{s, npbile hofiB, recreeti}nal \Edri(s, lxxlse, cargo, and tranel trellers;
15. A[fudure, accorfiBmer*s, baOgage, and cargo;
16- All qr*xfrtrd scfis hc&dftln nyemaq chdets, ftod, supffiq seeds, pk&,
                                                                                    c6orohah, crope;
17. A[ computcfq oomililer-tolet€d eg$pnrcnt erd sccessqiEs, sredfres and dda
                                                                                       aru pslptr*a[ ror
    all uses;
18- An offEe quipnnril inckrdiq oorurr,rnic*bns equiprcnt, corpr*ers, ghters,
                                                                              scannes, offico copiers
    and ofEce rnacirlnes:
19- Ail decssnk;s axl equipnent, hcfidru hosy. co{nu*eGl                  resadirnal
                                                                       [ml|tets,                 ard hsfiress
      ap@nssd             uses;
20- An   arailaudb andor vidoo caBurir€, producfion, vtxeo nsoor&rsr canr recorders, vobe recofders
      ard/sreFo&m**msysierns ard perbfieraxs, ffn6, tapes, sourdtrds,         ulr6*cq  ;glooggrepfls,
      iukeboleq remr*, frn, camrs, rctl*orq adt*tl**xrs$rd rses;
21.   A*rnsicdinsln@
u'  A$ rftEnusdhb,        Md*, panphEts,      re&s,  tre*re*s, rTpnograpfrs, sftof'Es, ruilte* nu*€*al,
    fuar*ls, @ys, scfeen&tp, tyrks, s{ngs, nuslg
23. All bools ard rnsnuab:
24- Alaliffi, *len&ies, OrtsA and nidtnames;
25- All Tradernarks, Regtstered Marlc,
                                       ryyrtlms, Fterts propieilaty ffia and tedrnohgy, iln entior6,
    royeli6, good ulifi
26- All crdentiars' sc*rd*degrees, dHonrc, honors, avards, meritorbr.s citatbns;
27- All re@rds, rliarhs,       jormab,        , rrcgEtirrExi, rilEFArBH*, irngs, vileo bot4e, ffin
    fuotrue' thautim' sffmd meords, srdiotep€e, *eotapes. srpr*er@u{rion orsroragg
                                                                                             sf all kinds
      wh&oewq
28' An hre scans ard corpord kbntlfication_factors, inchxllE R!{A,, D}.lA gone
                                                                               benk inhnuilion, blmd
    ard blootl ffiims, l*rpsbs, tisqle, Dody p@ o{gars,-lnt, teeilL        r*,
                                                                             sren, {gs, urine, ftrits
    ormafer' wipptitt' rcilind lrwe, nngerpdnts, fodprids, peen prtrts, thunsprine ard
    physhalcotrfierpsts, h anyfurn, ard a[-rw6, BtAcTiufidrs,                            said f,artors,
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    pedainiqg thereto and fle doscr@ns tlnr€fronq
29' As ttlomeths data, rw*r tt&trndoo,, pfants, copnigilfrs, and rradenprt
                                                                                  etil pErcgs nd
    ebe*fiere dsseed, the use erd procadsttlercot e*-t6 um of the irbnnstion contatred therein
      or pertahing   thsHo:
Seanity Agr€sm€nt                                  Page 7                      Iteendt-ol 934r   urylfi.E€A
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                            SECURTTY AGREEMENT
                                        }i[on-}{c8ilidrlEPlir*furcmec
3O All RiglttS to offiatn, use,   leqttd, or rcfrrse or auttrorbe    ttre   ffim        of, any hort, bewrage,
      nourlshment"    orrt*Er, orarysrblEncotobe hnlsotleBestcd, fliecfedir6,           orffiqUtebody        by
      anynreans$ffiacq
31. Ail     RUfe ro           Iefi.se, or attlprize the     drfiHrailion of ffy    dn4g, rnanlgildkm, rTlaterhl,
      pforc. lroce*re,
                 '€ryesn,tayi or rraw    wlri*r   atGtrs,   w mEht dcr tre prffint or friure silate of tre body.
     n*d, sfl*it, orurl ry any fipqs. rlrciltod, a prc rlr$oart[,-
32-  A[ kry, bcfts. }od( coneera&nls, enol@r oo(h w fteys, safrs, secured p1rc6, ard sffitrity
     deyices, seqrity prqgfiatrs, ard anysoflmre, rdfiEfyr orerlftxs rdat€d ureiao;
3:l- A[ RiSils to arc ard tse rin*F rpon pryrrenfi ofue sane rslft cods 6 the Enwsb wds af
     ss{e offi rc rH{ruored qHolrnrs, iH&, db, ffiicily, gar!6get gs" iniernst, s*effie,
     s€ur@, telephqlc, water, trtltu" eIE 8n dler tnduds of cunmindiqr, ffiIgy bwannhsion, ard
     M umtetr sdror susilqruce ffi&rtio*U
34- A[ Ri$tsto bdiff. buy, wm, sd, orffi id6, ro&d+ s€r\rirlos, swort(:
35- A[ supmfii, flxailrffitrs, sh]rers, onsrnanb, nBsolrrrges, employees, proftss&neb. orhactors,
    sub@ntraffis, rnaeg tsts, d* hes! ard crHomefs;
38- A[ N&rE, ffmieeQ DBAs ard Guporate Sce used anilor elrecEl, regls*aed, dairrd,
    assunE4 preslEEd, ardlorH, ard Urs rlmto be erccuted arxil ffi, ur&rsail nanre;
37. Afl inte$ectd tragsxg1gffi, srdseruils:
38, AS s{rffirts, s*rrs and s@b;
39- A[ insurarrce pffi h*ffiU k, healh ca]et ufiqn[dornet*, trotrlsnanb mrnF]satbn, rmlpaetice,
    tlilq disffiy, fio{rffi}efs, atrtorobile, htsittess, hrse, rer*rls, h&Eerd,*dthoseqehsilosscs,
     darqes, U!ilrB and Ue Hte C*ssrixlal ad prtu#.
40. All prw* ffid ft*rrc     reffi       iwnes;
41- All n€st aggs ard htHen rronry h antiques, oH vefricbs ard lhe He;
4a A[surviuustriprgms ard benffi;
/[3. AI hhgfranes prhr, presant ard future:
44. AX      prs    furiat pheX nrrcrd experms sd seruixs;
45- A[ smHiorls,
                          $€s, urcspo{rtEre,        iffiixr, i@,trg   ]rwlGs, tfiage ficcnses or travel
     do€urnerfrs, rnssrbb, prmits, regBhanions, and recu& srd feco{ds runrters fre[ ff any
                                                                                                    nr
     any FtrrposG, tNruEUGr acquired,      cH    *i tle matyses grd rces Urereot and ;.ry ,rse"mfy,
                                                                                                of Lr,y
     hturrratim dtd tnagps eor*akndttrer*1, regffies dcrdor, nrcffrod, hcdhn,                gffi,
                                                                                             orstorqi
     turm' arfB&, a[ prmseO alsilfnns erxslzirg, cfiEssiry*€, corrpariqg, comiiessirg,-diqayilfi,
                                      Ws,
     ilerilifiing, p{ocessiqg, s*orirg, ortansnstirxgW
      Hentifyitgotals,kn{GH}sesorlrardrberrnerd,'rruffi,per*,      ffids, corrgspoidqr@; hfo6111gltbo:
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                     gtdtte
    aml recorGrf,firtefs,             &;
40. All mrary carb and retffi;
47- A[      *{4 <*rarge, ard de&il calds, nortgages, rmes, appf,ffirs, card mtrrsefs, anrl mociated
    reoor6 ad infunrdbn:
48- AT eoffi ca s adir$rneffi,
    u€rfrurts, 8d othef
                                  $'
                           rr#s ffiEd
                                          pmetil' snd fututs, h ary cortrvludsoam, ard a[ bords, orders,
                                           tErEtO rrtshsl ttrere turt
49. All !orve*y, ttethffils, pretuis rffits, bumon, core,
    ard any sttr4o boffi w*hh whidr sdd terts are stofud;
                                                            @olrs prclr, sernrprerres st{x}es, mounts.
50- Afitaxonqpordere, ffis, ndices, codhg. rffird r*srhrs, xd anyinturndion aonEircdtterein,
    wherenEr wd tp*'BtrEr bcded, and rp mmer by r*run said infunls,on urs oualneo,
    codffi, remrde4 sfiorcd, anatlzed, Fmessedr snrnrrffid, orulilized:                       "on$"d;
51- ASbtteIB, otErpqy[rHlts, pteHymaG, priz*, reD#s, r€fi.rds, r€firn$;TremuryDiectAmrnts,
      ffi    and udaemed fi.trxb, affi aE reeo{cs ed rege r"rrsers, coriespondetle, ad infurilstion
    pedeinirg &ereto or derh,ed gtere front
5e A[ qrigmurat cm!s, inclds t€tts, o#irlderl dafrs, grwtu phr6, llrrmntory, ancuary eaj$snerrt
    suqryE, pmpEgffioo       p    , ard seeds, and      *
                                                       r*ted stur{i feciik, gredrhorseq prieras ot
    ard ior ard       sequhrnefit, invedsriBs, to*, sup@s, cott&ts, ecesltrenents inrohrcd in the
    plenting,rieq, harues@, proffiittg, gewvatiryt, ard storqe of a[ prorluctsof qrkrrfture;
Searrity                                              Prye8                         Iffi#trs{t?zrnu-E€{
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                           SECURTTY AGREEMENT
                                        I*ml@nti$hPrin*AeEffi
53-   A[ farm,   hrrl ad iri@n       equ&rner*"     sccesorie,   ffi,           hflidsots, @erterils,      senrice
    equtxnere psb, ard supfes, ard storagp stlods           d  €En€flh:
54- All frlel, trcl tsr{6, coriletrrers, std Xuolv€d or r*hd (Ffiyery s}st€NTE
56' All lei$fiB xd proBbnal hoDfu, rmt-uorgq1 ruoodurolt*rg, sd dta sdr mdrkrery, and alt
    at&y 8$c[fiu{* sccessories, mnsffi powto*, htrSt*, irneltolEs, strags cabhets,
      toffir     wlt   benerpg, sttops, gd   ffi;
s-    Afl lebure 8rd spaffig, Bhhg, hurthg, ad carryfirg equiprcnt! erd d $pedd do61trq, flHodats,
      supplies, boals, Jet Sldb, tra&rs, snormobks, AT\rts equipnerit, Rtlb, carp&g equhmffit of any
      kfidadbqg4er*hdtlure*o;
57. A[ tific, gtms ard rehted @ssorleq arrrnrnim ard UE irregrd                snpu$
                                                                                 $p14
50. An   rffi, t*lEiixls, cosrllsftefim qntipmeffr, rwehEfs. talEG$tffis,t'eErffiers,               emtxm, eld
     to,reils, ard d       arrcihry eqr&rgrt, $pp[o$, coilrprder$ sfuare p,ogrars' x,irirE, 6d raiatd
     accoutrements erd devices:
59- Afl poffigettcreetg ard/orransfurmirq msdtirrcs or derrices, ard aI stor4e, cordilionirg, goiltrol,
     dlihhflion, wring, arld anffiry equlpnnnt poftahfrE of attacfrred uter€tq
60. A[ hdtubg Jacu*, ard pmh:
61. A[ persond ard pr&siord corsrrclion toob, €quitrrnril ard $ry@ incftd!ts wder ness ard
__ rerce&g equhmere ard a[ anffiy ers&uEr*, r*Erdcab, toob, arE                    suffi;
s2. AB st&piqg. sl!g. and cargo coilafrers. srd S cfrsis, tnrckmilers, rrani, anO tle corilenb thereot
     whefteronrile, itrmnsil, orilr Sr4e ilrytr{lse;
e3. A[ uril*q ard thrrehpnrcnt CarE, peilrfu, &eilffi,           M,       ard Brsurances.
84. All corumm*rdions and dda, anrl the nretrrodf derrb, ad ftrfils of fufrnruilixr storage and reilrleval,
     ard tte pro&$ts of any sdr sftored infunn*itxr:
     A[
9!. boofts, dranilUs, ltuoazirres' rnaurab, ard rehrene rratsbb regardless of phydcal fuu
€8- A$ artwodr' paffitgs, €tcilhgs, photo$edth art" fithogfieBs, aru *rbraprrs, atd a[ fianres and
     mounts pertakrerg or ffired thereto:
07- All ftod' ard d da,il-s, toob, eqdptrp tt lltfiti#,       rdrim,       ad r*ted ffifiqrents iltwh€d in
     frod prwrdixl preFren, gFarih, bensport aild s{oree;
68. All wdhg   ffi           ard ringt, watches, rilsdr&, ard trihftie;
69-
     ry  horffi         gme     aad +pfiances, lfutqur, fumftrc, kitcftert rsersils, a.*bry, ffileti;erB, cookirg
     rfrensb, pdeqr, gili5rcs;
?0. All hrsinesses, erporafurs, conryanies, ttu$s, partrerships, krft€d prtnssfrhs, organieagons,
     pmprbtorsftiF, ard the Hte, rw srfied or hereafier qrfred, ard a[ bdrks erd r€cords
                                                                                                       tseof and
     there froilt  d      iEcorae thsre fiwtt std a[   affiies,        aooounEr bs{r, eqripnent, lnfurr*atbn,
     inrrertrory, rrr(rrey, spars pqrts, ard ormtrersothmre psta*rirg thereb;
71 - All packsgcs' par*, srllGbpe, orEbeb of aqy khd rrtrdsoeverwtrhh
                                                                                    ara g61lreserl to, or hilended
     to he addressed to. TRUST, urffiier recehed rr not recehrcd hy rRusr;
72. Afiblephone nwr$GN:s, ard      mrffi;
73.Any propertY nd spedhs           Kd,           mned, or specfied by nuke, mde[ serial mrter, e&., b
     o(Pressry hereuiEt Mtded      t ffiHd             of TRrrSl Th&    6  t affis to my altd aI lroierty        s
      dffil       in tletaa ard regft*ened anrl md_rmdtr Eeffiy h &e;irroFe trtte rtm oherffiifuisr
     bry TRT SIEE EECT JRED pARTy and/or CREDTTOR
74- Ploco* ftorn BENEFICTARYS prop€rty, labor ard hteHrrd contuhnthns tom erpry
                                                                                                     sogrco;
?5' TRt'STts CRTFICATION OF BIF$H ard erctffiq epemon br BAffi Gerfficaile
                                                                                                ard Fi16 lturnber,
     ar$ e$ o&er ffies              of Bfotlt, CertiEcdes of $rini bir$r, Ncti$cat*xs of negEg.dbn of Birtn, oi
     certiffies d Regisbafiion of Bittt, or dtrerwrse el*,[H rkrnanf,s of btr& rlrcsrs mmty,                  state,
     Etlenal' wd}ere&rsascrEeil to orderived tronrrhe rsne otTRlJtiT iffirl
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     the abomffied tir& &crsng*.
7CI. All lmnfnatbn aill hgatrffin papers
77- A[ Sot*il So€rrfry BEISFITS
78. An Dduer Licerms * drirer haftse nun&er
79- All Ljcc Fkrgs ard t*rrBuct Ftb* drs alt &ndunrs
Smrity fureemeat                                      ksp 9                         Iffilg&*rA-7IflLE€A
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                               SECIIRITY AGREEMENT
                                    tftrtlegotiddc Biro agneme*
80. A[ propetty $sted on tsgl t{ofices ard &rsrds firat are fled h TRt-SnS cotrty, stde, and ndion.
    81- A[ rEds*rdon h Gartry, Ste, natiooal gxl rltsrffirnt r€gffifes
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                                                              or srend t*r trhleE Sscrrty Agmonert
as ns€ded saslneoexlsary byTRUSIEE|SECURED PARTY ore4rossty arflrortzsd rapreantatue.
82- hrffi€     rffiF   ald pefrbrlcffi hftErgq ard S comryEnts s rmftxtsh             @     tlet€to,
    bcture ordurtlg nlanumurq lrarsportfion, storeE, h*lttg, crs{tiqL or rmsrcU ntfle amnfE
     ocqsanclthereot
83- A$ oonsfudfrxt medtineqr, crybnrcril,         $tpp&q remnces,to&, vehffi ard a[ aney eqr$nent;
     stffi      trffieriah'   tnE   fud   dtiveq srpffi,  nffi' erd ssri,hg equilrrrqt permE llelreo;
                                                   ADVSORY
     .All ilrsinrrnefits andfurrner*s rshrerd*sdzed &rc are repied for \ratrB, trilh aE related
erdotsqreilts, ffi      sxl bffi" h acconlarm rrrilh t CC $ $4f g and per kf,ent d Horse Joir* Reso&fion
192 of Jure 5, t$i3- Thb Sorty $remlent is accepteO tur vahe, poperty dTRTEIEE SECURED
PARTY, ard nd disdwge*b in banlruscry eorst as TRUST b oompt ftomfhfrttpa*y br.ry. Thb Secrrrity
Agreemeflt suporseG d preyiup aontrecE or Sffifity ngeernems bdrmr TRUST and
TRT TBTEEISECURED PARTY erept frr contracts lmhdeel.

  TRUST egrGes to         a[ dTRt STE tumer CREIXTORS, tfire CreIXT€RS, ard afry
                          @                                                                     rcflbb
pum$assrs of the tseindescr&ed Goilatsalstaturs, of Utb SeerrilyAgreerrrcrt

   Thb SurtyAgrwlmnt thnltres on ENEFICIARIES and ASSIGI€, dlo Eileffi b ilris Sefiity
ngtesltefit, aS TRI,ISTEEASEGURED PARTY to ?rdd sd mbme inters by COtSENSIIAL
AGREEI#NTad Rirrste Conbact h deed and silead of BENEFICIARY
     TRT STEESECLreD PARTY rnrintains tlre rfutfito sbn hrTRtETlrhen and wherererfie stnature
of TRUST rrH be reqfied ard necessay. TRt STEEfiSEGUffi PARTY sEns frtrTRLrST as 'agent'
ardhr AUIt[l$ilZED TPRESENIATII/E of TRIXST. TRI.ETEE,SECI,.RED PARTY rsenres UE r6ht
to maks srffrktchirsto secrse srdr Bdffitess udil sffid in whob-

   TRUSTEE SECTI?ED PARTY rrrdrffirs aI oflixs sd rtt*s dtranstur. ard nrey issre an
assEmrEnt of tlle corrsete seeu*reorenn*uaqT&&*x d                      p*Elffiwn
                                                                          lnthe ew$tof
dbtp{tor by TRUST, or difficu[ies $n          dffin,
                                             TRIJSTEE SECUFIED PARTY has fid antlrorfty ard
4reernnt to tale d acthns           tM
                                     necessary         tr
                                                 acgmion of remedy and receiv*Es bU ary orcens.

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                           U.S. PERSON IDENTIFICATION



                           WILLIE LEE EDWARDS JR. GRANTOR




                                                 WILLIE-LEE: EDWARDS JR

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                                             NOTICE

Using a notary on this document does not constitute any adhesion, nor
does it alter my status in any manner. The purpose for notary is
verification only and not for entrance into any foreign jurisdiction, a
benefit for minors and the incompetent whom i anticipate may become
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As a Notary Public for said County and State, I do hereby certify the   attached$   pages   to be a
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Witness my hand and seal, this       30          a,vot JcrntnrY                 zozs.




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